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September 5, 2022

VIA EMAIL
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Benjamin D. Webb
Cozza Law Group PLLC
400 Holiday Drive, Ste 210
Pittsburgh, PA 15220


                 Re:    Renee Zinsky vs. Michael Russin et. al
                        2:22-cv-00547-MJH
                        For Settlement Purposes Only Pursuant to Fed.R.Civ.P. 408
Dear Ben:
        Please allow this correspondence to follow up on our conference with Judge Horan on September
1st. Judge Horan stated, in no uncertain terms, that it would be in your client’s best interest to make a
good faith attempt to resolve this matter at this time. More specifically, Judge Horan stated that, based on
her review of this case, she was “appalled” by your client’s conduct and couldn’t “believe that anyone
could be so brash” given his ongoing exposure in this case. She went on to explain that Mr. Russin
continues to “shoot himself in the foot” which “makes the Plaintiff’s case for her”. Judge Horan went
so far as to state that if Mr. Russin does not settle this matter near term, he will have “more problems than
this lawsuit” and risks “extensive exposure with significant damages” going forward. The Judge asked
you to “get your client under control” and declared that his behavior “would not be tolerated” by the
Court.
       For those reasons, Judge Horan stated that she would not be mandating ADR at this time. Instead,
the Court recommended that Plaintiff provide a settlement demand to all of the Defendants in this case. I
have copied counsel for the other Defendants hereto.

        To that end, I have reiterated the demand that Plaintiff previously provided to the other Defendants
in February 2022 below. Given the time, costs, wage loss, stress, and anxiety that Plaintiff has incurred
since (as reflected by the gravity of Judge Horan’s comments), however, the demand has been slightly
adjusted to accommodate for same.
       I.      Defendants’ Ongoing, Aggravating Conduct and Exposure
       Before addressing Plaintiff’s demand, I would like to take this opportunity to elaborate on Judge

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Horan’s concerns with regard to Mr. Russin’s ongoing conduct. Incredibly, within two days following the
Court’s comments and instructions, Mr. Russin continued to conduct himself in the same reprehensible
manner. For example, on September 3, 2022, Mr. Russin published a podcast titled How to Be a Closer,
Fuel for the Fire, and False Gospel Preachers. At that time, Mr. Russin made a variety of statements
(presumably related to closing sales) in a brash, appalling, and aggressive manner to include the following:

   •   I’ve always been a closer. I’m not tooting my own horn. It’s just a fact … It doesn’t matter
       what it is … closing in business and in life are the same. Everything in life is closing … If
       you’re a man … you got to close a woman.
   •   Closing is such an essential skill in life… You can’t be a dog, especially as a man and not
       know how to close.
   •   At the end of the day, whoever it is, a woman, bank teller, loan officer, girl across from you at
       the bar… the first thing they are buying is you … People are animals.
   •   I got a guy that works at one of my organizations … This guy can smell when women are
       ovulating.
   •   I can tell you right now, there’s no human being on this planet that can take me out of the
       game … when they see you go through massive amounts of adversity and still come out on top,
       they want to drag you right down into the pit … they have such low self-worth that they can’t
       stand to see people win … They don’t have the balls to go out and win … You gotta grab and
       pull him back down … in this bucket of misery and shit with us.
   •   So when someone else becomes so focused on you that they want to take you out of the game
       and you just keep going out and working and winning… like our recruiting company just had
       its biggest week ever … we built a million dollar a year business within 6 months.
   •   Keep denting me, go ahead… bounce me around, beat me up .... I love it. I have a sick
       relationship with pain. It makes me so much better… Thank you haters! Haters make me
       greater!
   •   But you don’t want to hyper fixate on that … Then you start feeding your dark side too much...
       That’s when you want to lash out. That’s when you do something that you shouldn’t do.
   •   You can’t jeopardize the rest of your life over a hater… You go to jail for felonious assault.
   •   I’m not strong enough. I’m not good enough. We are all inherently wicked.
   •   It’s not that I’m not good enough. I’m not good all.
   •   I’ve struggled with this a lot in the past couple of months… I feel worse now than I ever have
       in my life … I am more convicted and disgusted with myself now than I have ever been in
       my entire existence on this planet.
   •   The process of sanctification … it never ends … Because when you remove the big sins, you
       just become aware of the medium ones… Like … I’m not having sex with a bunch of people
       or doing drugs … or cheating on my wife … Then you become violently aware of the small
       things … You should feel worse than you ever have in your life … you should be remorseful.
   •   Please donate. Please help us.
        Similarly, on the same day (September 3, 2022), Mr. Russin posted a photograph of himself with
the caption “War Ready” on social media. Of course, these statements are no different than Mr. Russin’s
other public statements such as “Money Grubbing Whores” (referencing women who claim sexual assault

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and sexual harassment), “I do everything fast, even cummies”, or “Vax this Dick” but they are even more
shocking and remarkable given the timing, i.e. days following Judge Horan’s clear and direct reprimand
of said conduct.
        There are multiple witnesses who will testify that these types of comments are, and continue to be,
typical for Mr. Russin in the AIL office and at other AIL work settings for years, including the past 6
months. The witnesses will testify that Mr. Russin’s recent comments are often followed by even more
brash statements such as “What are you going to do about it, fire me?” As you may know, Mr. Russin
has voluntarily published the same statements over the past six (6) months in other capacities.
        These are merely the “highlights” of Mr. Russin’s most recent brash and appalling conduct. As
you know from Plaintiff’s Amended Complaint, there are droves of similar vulgar, misogynistic,
aggressive, and violent comments and conduct on behalf of Mr. Russin in his capacity as an agent of AIL
and Arias Agencies over the years. Although Mr. Russin’s conduct is perhaps the most vile and egregious
that I am aware of, make no mistake… there are just as many examples of other male agents’ depraved
conduct that will be evidence of the toxic and hostile work environment which Defendants have subjected
Plaintiff to over the past 3.5 years. Of course, the extensive list of witnesses (including Mr. Russin’s wife,
Geneva Russin), documents, texts, photographs, videos, and other evidence will be shared over the course
of discovery near term.
        As you may know, AIL acknowledged Mr. Russin’s appalling conduct by allegedly attempting to
terminate his contract on or about February 2022. AIL’s counsel referred to the alleged termination as a
“remedial measure” resulting from AIL’s investigation of Plaintiff’s claims of sexual harassment. Yet,
unbelievably, Mr. Russin continues to work on behalf of AIL through present. Mr. Russin performs
professional services on behalf of AIL, receives income from AIL, works out of the same AIL office1,
manages and attends AIL meetings, and continues to manage the same team of AIL agents as he did prior
to his alleged termination. Typically, I would assume that you are already aware of these facts. Given
your recent inquiries about Mr. Russin’s conduct2, however, I wanted to be sure to clarify any such
confusion with all defense counsel. Defendants’ ongoing inability to provide Plaintiff with a safe working
environment was clearly reflected by Judge Horan’s concerned comments about the “escalating” nature
of Defendants’ exposure.
       Whether Defendants refer to Mr. Russin as a “consultant”, “contractor”, or otherwise, it is of no
matter since he continues to function as an agent on behalf of the Defendants, and in a leadership role at
that … just as he did during his daily drug and alcohol abuse, just as he did during countless episodes of
sexual harassment, just as he did during his felonious criminal charges and convictions, and just as he did
during an involuntary commitment to a mental health facility. All of which occurred publicly while Mr.
Russin was hired, employed, retained, and celebrated as a high-ranking leader by Simon Arias and AIL.
       Based on Plaintiff’s employment experience alone, Defendants’ inability to provide a safe work
environment was not a mere oversight, but rather a choice. Perhaps the most blatant example is that
nothing has actually changed since AIL admitted to Mr. Russin sexually harassing Plaintiff and then

1
 AIL and/or Arias Agencies’ Portland, Maine office.
2
 Contrary to your representations, this there is a significant amount of evidence to support Plaintiff’s claims that Mr. Russin’s private conduct is just as vile
and offensive as his public “persona”.

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misrepresenting Mr. Russin’s termination as a “remedial measure”. Similarly, Plaintiff’s complaints of
sexual harassment and insurance fraud were concealed by Defendants for at least four months after being
reported to Simon Arias. And, for an additional five months, Globe Life and AIL continued to recognize
Mr. Russin and Mr. Arias with “leadership” awards and generous incomes … all the while Plaintiff was
traumatized and completely unable to work. What is more, Globe Life and the Defendants never even
bothered to interview Plaintiff in connection with the alleged investigation of her documented reports of
insurance fraud. What is more, that doesn’t even address the experiences of numerous other witnesses
who will testify to eerily similar experiences while working for the Defendants.
          II.        Plaintiff’s Demand

        Pursuant to the applicable federal and state laws, Plaintiff is entitled to damages including back pay,
front pay, compensatory damages, punitive damages, and attorney's fees. A l t h o u g h I am at a
disadvantage without access to the Defendants’ comprehensive payroll/financial records yet, I have
provided a good faith estimate of the damages break down based on the income information that Defendants’
have made available to date.
                  A. Back Pay
         Based on Plaintiff’s performance as an Agent and Supervising Agent in 2019, comparable male agents’
compensation, Defendants’ promises to Plaintiff, and applicable laws, Plaintiff should have been promoted to
MGA status in late November 20193. B u t f o r t h e D e f e n d a n t s ’ m i s c o n d u c t , P l a i n t i f f
w o u l d h a v e successfully worked in the capacity of MGA for a couple of years, and then progress to a
Regional General Agent position. In other words, she would have worked as an MGA from the end of
November 2019 to November 2021 at the rate of at least $550,000.00/year4. Thereafter, she would have
worked as an RGA from December 2021 through present at a rate of approximately $2M/year5.
        In 2020, Plaintiff earned approximately $110,000.00. In 2021, Plaintiff earned approximately
$40,000.00. Based on her 2022 earnings to date, Plaintiff anticipates making approximately $60,000.00
this year. Therefore, Plaintiff would be owed backpay in the amount of approximately $2,890,000.00 (i.e.
$440,000.00 for 2020, $510,000.00 for 2021, and $1,940,000.00 for 2022).
                  B. Front Pay
         But for the Defendants’ misconduct, Plaintiff would be a high performing RGA at present and
the foreseeable future. Conservatively, Plaintiff would be entitled to approximately 2 years of front pay
at a rate of approximately $2M/year.
       In addition, Plaintiff is approximately 30% “vested” for a lifetime of residual income at the
aforementioned rates. Until I have the ability to review Respondents’ policies, financial and payroll
information, it is difficult to ascribe a precise value to Plaintiff’s future residuals. In an effort of simplicity,

3
  Plaintiff was working as a Supervising Agent as of November 2019.
4
 This is a conservative estimate based on the male MGA comparator’s compensation. More specifically, actual income reports and other admissions made with
regard to income for agents such as Michael Russin, Jeremiah Russin, Mark Bernsdorf, Rob Jackson, and Jon Rindt to name a few.

5
  This is a conservative estimate based on the male RGA comparator’s compensation. More specifically, actual income reports and other admissions with
regard to income for agents such as Michael Russin, Brody Evanson, Justin Adams, Greg Rudolph, and Matt Diulus.



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I have estimated the value of her vested income as 30% of an RGA’s income ($2M) for two years, i.e.
$1,200,000.00 in the aggregate. In sum, Plaintiff is entitled to approximately $5,200,000.00 in front pay.
             C. Punitive Damages
       Due to the intentional and egregious conduct on behalf of all of the Defendants as noted above,
I am confident that Plaintiff will recover punitive damages well in excess of the statutory caps in this
case. After hearing Judge Horan’s comments last week, I feel more confident than ever in that regard.
As such, Plaintiff’s estimated punitive damages are $300,000.00.

             D. Attorney’s Fees

        A conservative estimate of Plaintiff’s attorney’s fees and costs is $200,000.00, to date.
             E. Agent “Debts” or “Chargebacks”
        One of Plaintiff’s ongoing concerns is the Defendants’ common practice of forcing former agents
to repay certain debts, or “charge backs” and reporting those debts to third parties such as Vector One.
Any potential settlement would be contingent on Defendants’ agreement to waive any such debts and/or
reporting of same.
      II.    Conclusion
        Based on the above, Plaintiff’s claims against the Defendants are conservatively valued at
approximately $8,590,000.00 at this time. As Judge Horan pointed out, the Defendants’ exposure and
Plaintiffs’ damages will only continue to increase going forward. Due to the ongoing costs, stress, and
anxiety related to this case, Plaintiff is agreeable to an early resolution in exchange for $3,250,000.00 at
this time.
        Please feel free to reach out should you have any questions or concerns. Otherwise, I look forward
to hearing from you once you have an opportunity to confer with your client(s).


                                                   Sincerely,


                                                   /s/ Amy N. Williamson




cc:     Jean Novak, Esq. (on behalf of Simon Arias III, S.A. Holdings, LLC, and Arias Agencies)
        Anne Dana, Esq. (on behalf of American Income Life Insurance Company)




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